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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  Civil Action No. 20-cv-03660-PAB-NRN

  DEMETRE DEUTH, and
  LUIS PLASCENCIA,

          Plaintiffs,

  v.

  MARTIN MARIETTA MATERIALS, INC., incorporated as part of MARTIN MARIETTA,
  CORPORATION,

          Defendant.


                                     FINAL JUDGMENT


          In accordance with the orders filed during the pendency of this case, and

  pursuant to Fed. R. Civ. P. 58(a), the following Final Judgment is hereby entered.

          Pursuant to the Order [Docket No. 71] of Chief United States District Judge Philip

  A. Brimmer entered on January 3, 2023, it is

          ORDERED that Defendant’s Motion for Summary Judgment [Docket No. 30] is

  GRANTED. It is further

          ORDERED that the amended complaint [Docket No. 7] is dismissed with

  prejudice. It is further

          ORDERED that judgment shall enter in favor of defendant and against plaintiffs.

  It is further

          ORDERED that defendant is awarded its costs, to be taxed by the Clerk of the

  Court, pursuant to Fed. R. Civ. P. 54(d)(1) and D.C.COLO.LCivR 54.1. It is further

          ORDERED that this case is closed.
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        Dated: January 3, 2023.



                                            FOR THE COURT:

                                            Jeffrey P. Colwell, Clerk


                                            By s/ S. Grimm
                                                      Deputy Clerk




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